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                                  IN THE UNITED STATES DISTRICT COURT
                                       FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,                 )
                                          )
                        Plaintiff,        )
                                          )
      vs.                                 )                          Case No. 11-40078-01-JAR
                                          )
VIROK D. WEBB,                            )
                                          )
                        Defendant.        )
                                          )
__________________________________________)


                                   MEMORANDUM AND ORDER

        This matter is before the Court on Defendant’s Motion to Suppress Defendant’s

Statements (Doc. 341). The Court held an evidentiary hearing on September 19, 2013, where it

took the motion under advisement. Having reviewed the briefs, evidence, and arguments

presented by the parties, the Court is now prepared to rule. As described more fully below, the

Court denies Defendant’s motion.

I.      Facts

        Based on the testimony, video1 and other evidence2 submitted at the suppression hearing,

the Court finds the following facts by a preponderance of the evidence. Detective Joshua Brown

is a narcotics detective with the Junction City Police Department and testified that he knew

Defendant to be a “drug dealer.” Detective Brown first met Defendant no later than 2006, and

has since encountered Defendant numerous times while on patrol. The day after Crystal Fisher’s


        1
         See Gov’t Ex. 1.
        2
          See Gov’t Ex. 2 (Defendant’s signed Miranda waiver of June 29, 2010), Gov’t Ex. 3 (U.S. Department of
Justice Drug Enforcement Administration Report documenting allegations of Defendant and Co-Defendant Webb’s
drug distribution activity).
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murder, Defendant’s attorney at the time, Brenda Jordan, contacted the Junction City Police

Department to report that she was Defendant’s attorney. Defendant’s attorney advised that

officers were not allowed to have any conversations with Defendant regarding his alleged

involvement in Crystal Fisher’s murder.

       On June 22, 2010, Detective Brown was patrolling Junction City in an unmarked vehicle

and dressed in plain clothing when he noticed Defendant’s car stalled in the parking lot of an

apartment complex. Detective Brown testified that Defendant waved him over to his car.

Detective Brown drove to Defendant’s vehicle and informed him that he could not speak with

him because he had an attorney. However, Defendant continued to make statements about

Crystal Fisher’s murder and related drug activity. Detective Brown did not read Defendant his

Miranda rights because he did not think Defendant was in custody. Detective Brown testified

that Defendant initiated the conversation and could have walked away at any time. This

encounter was not videotaped.

       On June 29, 2010, Defendant was in a holding cell at the Junction City Police Department

following his arrest for domestic battery and drug possession when Detective Brown passed by

him. Defendant told him that he wished to speak with Detective Brown. Detective Brown

testified that he confirmed with a supervisor that he could indeed talk with Defendant.

Defendant was then moved to an interview room with Detective Brown where the matter was

recorded.3 The interview began with Detective Brown taking Defendant’s personal identification

information. Immediately following, Defendant told Detective Brown that he completed one

year of college and can read and write. Detective Brown then advised Defendant of his Miranda


       3
        See Gov’t Ex. 1.

                                                2
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rights, which were enumerated one through five on a Junction City waiver form and read to

Defendant.4 Detective Brown stopped to confirm that Defendant understood each separate right.

Defendant first attempted to offer confirmation by nodding his head. Detective Brown explained

to Defendant that the process had to be formal so Defendant must respond verbally. Defendant

then verbally confirmed that he understood all warnings covered under Miranda after each of the

five warnings were read to him. Finally, in a catch-all question, Detective Brown again

confirmed that Defendant understood all five previously stated warnings. Defendant then

verbally agreed to waive his Miranda rights. Both Defendant and Detective Brown then signed a

written Miranda waiver, containing all of the Miranda rights and responses that Defendant

provided regarding his comprehension of each right.5

       Detective Brown began the interview by asking “What happened?” Defendant responded

by discussing the details of the domestic dispute for which he was under arrest. Detective Brown

asked several questions about the dispute and took notes. Defendant quickly admitted to hitting

the victim with an open hand. After approximately two minutes, Detective Brown and

Defendant segued to a dialogue, which last about two-and-half minutes, about whether or not

Defendant wanted to waive his right to an attorney as to the Crystal Fisher homicide. Detective

Brown asked Defendant what Defendant wanted to discuss, and Defendant responded, “I want to

alleviate the situation.” When Detective Brown asked what “situation” Defendant was

responding to, Defendant replied, “The whole situation.” Detective Brown told Defendant that

before they continued the interview, he had to state on the record that he wanted to waive his


       4
        See Gov’t. Ex. 2.
       5
        Id.

                                                3
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right to an attorney about “this stuff.” Then, Detective Brown made several attempts to clarify

that Defendant wanted to waive his right to an attorney as to the Crystal Fisher homicide.

Defendant laughed twice when Detective Brown told him that he needed to give a verbal waiver

as to the homicide case. When asked again by Detective Brown what he wanted to talk about,

Defendant replied, “Whatever you wanna talk about.” Finally, Defendant verbally agreed to

speak to Detective Brown about the Crystal Fisher homicide without his attorney. Detective

Brown then asked one last time if Defendant requested an interview with him to specifically

discuss the Crystal Fisher homicide case. Defendant replied, “I know that’s what you want.”

Defendant then went on, for about two hours, to discuss his relationship with Crystal Fisher and

his distribution of illegal drugs.

II.     Discussion

        1.       Defendant’s Statements on June 22, 2010 in parking lot

        Defendant argues that his statements on June 22, 2010, were obtained without the

presence of Defendant’s retained attorney and thus, in violation of Miranda.6 Under Miranda,

the prosecution may not use certain statements unless it demonstrates that it employed certain

procedural protections to safeguard the Fifth Amendment privilege against self-incrimination.7

As a general rule:

                 Miranda warnings are required when the defendant is in custody and
                 subject to interrogation. In order to determine whether or not a person is
                 in custody for Miranda purposes, a court must examine all relevant facts,
                 the only relevant inquiry being how a reasonable person in the suspect’s
                 position would have understood his situation. If, from an objective


        6
         Miranda v. Arizona, 384 U.S. 436 (1966).
        7
         Id. at 444.

                                                    4
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                    viewpoint, someone in [the defendant’s] position would reasonably
                    believe [his] freedom of action had been curtailed to a degree associated
                    with a formal arrest, then [he] would be held in custody during the
                    interrogation.8

         Thus, a Miranda warning is required when a defendant is (1) subject to interrogation, and

(2) in custody. For the first prong, interrogation includes “any words or actions on the part of the

police . . . that the police should know are reasonably likely to elicit an incriminating response

from the suspect.”9 For the second prong, the Tenth Circuit suggests several factors that are

useful in testing the atmosphere of custody, including: the extent to which the suspect is made

aware that he or she is free to refrain from answering questions or to end the interview at will; the

nature of questioning (limited questioning to confirm an officer’s suspicions is less coercive than

prolonged accusatory questioning); and whether the atmosphere is “police dominated” (i.e.

separation of the suspect from family or colleagues who could offer moral support, isolation in

nonpublic questioning rooms, threatening presence of several officers, display of a weapon by an

officer, physical contact with the subject, and an officer’s use of language or tone of voice in a

manner implying that compliance with the request might be compelled).10

         Here, Defendant was not interrogated within the meaning of Miranda. Detective Brown

did not invite a discussion about the Crystal Fisher homicide or his illegal drug activity.

Furthermore, Detective Brown was aware Defendant retained an attorney in this matter and had

been advised not to talk to Defendant without the attorney present. Detective Brown attempted



         8
           United States v. Griffin, 7 F.3d 1512, 1517–18 (10th Cir. 1993) (citing Miranda, 384 U.S. at
444) (citations and quotations omitted).
         9
          Rhode Island v. Innis, 446 U.S. 291, 301 (1980) (footnotes omitted).
         10
             Griffin, 7 F.3d at 1518–19; see also United States v. Jones, 523 F.3d 1235, 1240 (10th Cir. 2008).

                                                            5
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to follow this direction by reminding Defendant that he could not speak to him without his

attorney present. Still, Defendant continued to discuss the homicide and his illegal drug activity.

However, Detective Brown cannot prevent Defendant from acting according to Defendant’s will

— even if that means waiving previously invoked Miranda rights. “Volunteered statements of

any kind are not barred by the Fifth Amendment.”11 Detective Brown could not have reasonably

believed that his words or actions would elicit an incriminating response from Defendant.

Therefore, the first prong is not satisfied.

        Defendant was also not in “custody” within the meaning of Miranda. Detective Brown

did not initiate contact and only came over once Defendant waved him over Defendant does not

allege that Detective Brown made specific statements or acted in a way that suggested he could

not leave. Defendant also does not allege that the atmosphere was police dominated. Defendant

was in a public space, not the police station or a squad car. Detective Brown was the only officer

on the scene; he was driving an unmarked car and dressed in plain clothes. While Defendant’s

own car troubles prevented him from driving away from the scene, he certainly could have

walked away by his own volition. From an objective viewpoint, someone in Defendant’s

position could not reasonably believe his freedom of action had been curtailed to a degree

associated with a formal arrest. Therefore, the second prong is not satisfied.

        Defendant was not interrogated or in custody, therefore the statements Defendant made

on June 22, 2010 are admissible because they were not obtained in violation of Miranda.

        2.       Defendant’s Statements on June 29, 2010 in jail

        Defendant argues that his statements on June 29, 2010 merit suppression because waiver


        11
          Miranda, 384 U.S. at 478.

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of his Miranda rights was not voluntary, knowing, and intelligent. A defendant may waive

Miranda rights, but the waiver of one’s Fifth Amendment privilege against self-incrimination

must be voluntary, knowing and intelligent.12 The purpose of the “knowing and voluntary”

inquiry is to ascertain whether the defendant truly does understand the significance and

consequences of his decision and whether the decision is uncoerced.13 A waiver is considered to

be knowing and intelligent only if the defendant made it with “a full awareness of both the nature

of the right being abandoned and the consequences of the decision to abandon it.”14 Whether this

standard is met “depends in each case upon the particular facts and circumstances surrounding

that case, including the background, experience, and conduct of the accused.”15 The Government

has the burden of proving a valid waiver.16

       Defendant argues that his waiver was not voluntary in this matter and that he only waived

his Miranda rights as to the domestic violence situation for which he was arrested that night.

Notably, Defendant appears to be intentionally evasive throughout the interview process.

Defendant first tried to waive his rights by nodding, rather than offering a verbal response as he

had done before the interview. Only after Detective Brown reminded Defendant that he was

required to verbally respond did he speak. Detective Brown also gave Defendant the opportunity

to clarify what he wanted to discuss when Defendant specifically requested to be interviewed by




       12
         See Moran v. Burbine, 475 U.S. 412, 421 (1986) (internal citations ommitted).
       13
         Godinez v. Moran, 509 U.S. 389, 400–01 (1993).
       14
         Moran, 475 U.S. at 421.
       15
         Maynard v. Boone, 468 F.3d 665, 676 (10th Cir. 2006).
       16
         United States v. Nelson, 450 F.3d 1201, 1210–11 (10th Cir. 2006).

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him. Defendant did not give specific details when Detective Brown asked what he wanted to talk

to him about. Instead, Defendant responded that he wanted to “alleviate the situation.”

Detective Brown then attempted to clarify what situation Defendant was referring to, only for

Defendant to respond, “The whole situation.” Even after Detective Brown asked Defendant if he

called him over to specifically speak about the Crystal Fisher homicide, Defendant did not offer a

direct response, but instead retorted, “I know that’s what you want.” Defendant never made any

statements or assertions to suggest that he was limiting the scope of the waiver to the domestic

violence situation.

       Defendant alleged that Detective Brown made an extended effort to get Defendant to talk

about the Crystal Fisher homicide case when he was reluctant to do so. The Court disagrees.

Defendant did not appear reluctant. Approximately two minutes into the interview, Defendant

admitted that he wanted to talk about the Crystal Fisher homicide. Defendant even laughed when

Detective Brown attempted to be serious and formal by eliciting a clear, explicit waiver.

Defendant also alleged that he slowly agreed to a waiver because of Detective Brown’s many

attempts to pressure him. The Court finds that the video evidence does not support Defendant’s

assertion that he was pressured. Detective Brown’s questions were an exhibition of caution in

the face of Defendant’s intentional evasiveness. Detective Brown made several attempts to

ensure that Defendant was waiving his rights to an attorney specifically in the Crystal Fisher

homicide case even after Defendant had given a blanket verbal and written waiver. Detective

Brown’s tone of voice was controlled—not forceful—throughout the entire interview. Defendant

initiated the interview and Defendant explicitly stated that he wanted to waive his right to have

an attorney present to discuss the Crystal Fisher homicide. Defendant cannot now back peddle


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and say that he was cajoled into waiving his rights. Thus, the Court finds Defendant’s waiver

was voluntary.

       Defendant also argues that his waiver was not knowing and intelligent. Defendant

established that he is literate and has completed one year of college. Defendant signed a written

waiver before he gave any statements and verbally confirmed that he understood each right

protected by Miranda after they were read aloud to him. Moreover, Detective Brown reminded

Defendant several times that the waiver needed to be formal and clear and even suggested that

civil rights violations could occur if they were not formal. Even after Defendant waived his

rights verbally and in writing, Detective Brown again clarified that Defendant wanted to waive

his rights as to the Crystal Fisher homicide case. Given Defendant’s educational background, the

various opportunities Defendant had to limit his waiver, and Detective Brown’s repeated

warnings about the gravity of the case, the Court finds Defendant understood the significance and

consequences of his decision to speak without his attorney present and was aware of the nature

and consequences of his waiver. Therefore, the Court also finds Defendant’s waiver was

knowing and intelligent.

       Because the Government has met its burden of showing that the waiver of Defendant’s

statements was valid, Defendant’s statements on June 29, 2010 are also admissible.

       IT IS THEREFORE ORDERED BY THE COURT that Defendant’s Motion to

Suppress Defendant’s Statements (Doc. 341) is denied.

Dated: October 28, 2013
                                                     S/ Julie A. Robinson
                                                    JULIE A. ROBINSON
                                                    UNITED STATES DISTRICT JUDGE



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